                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 1 of 91
 Fill in this information to identify the case:

  Debtor Name       Buffalo Bayou Brewing Company, Inc

  United States Bankruptcy Court for the:               Southern             District of      Texas
                                                                                               (State)
  Case number (If             24-31933
  known):                                                                                                                                   ✔ Check if this is an
                                                                                                                                            ❑
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. Independent Financial                              Checking account                          4    8    8    4                                $137.00

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
                                                                                                                                                         $137.00
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1    Settegast Partnership                                                                                                                    unknown




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 2 of 91
Debtor           Buffalo Bayou Brewing Company, Inc                                                       Case number (if known) 24-31933
                 Name




         7.2     Silver Silos LLC                                                                                                                        unknown


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:       Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                              ➔
                                                                                                                =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:                  unknown              -               $6,136.63                      ➔
                                                                                                                =.....                                  $40,566.63
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
                                                                                                                                                      $40,566.63
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:       Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                Valuation method used       Current value of
                                                                                                                for current value           debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                        page 2
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 3 of 91
Debtor          Buffalo Bayou Brewing Company, Inc                                                 Case number (if known) 24-31933
                Name




 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:

         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:           Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                   Date of the last     Net book value of      Valuation method used     Current value of
                                                               physical inventory   debtor's interest      for current value         debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale


                                                               MM / DD / YYYY


 22.     Other inventory or supplies

         See Attached List                                        01/19/2024              $600,956.00                                          $792,343.80
                                                               MM / DD / YYYY


 23.     Total of Part 5
                                                                                                                                             $792,343.80
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                  page 3
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 4 of 91
Debtor         Buffalo Bayou Brewing Company, Inc                                                 Case number (if known) 24-31933
              Name




 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of      Valuation method used     Current value of
                                                                                   debtor's interest      for current value         debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 4
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 5 of 91
Debtor          Buffalo Bayou Brewing Company, Inc                                                   Case number (if known) 24-31933
                Name




         General description                                                          Net book value of    Valuation method used       Current value of
                                                                                      debtor's interest    for current value           debtor’s interest

                                                                                      (Where available)

 39.     Office furniture




 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software




 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1 Paintings & Artwork (Located at Brewery)                                         unknown                                              unknown


 43.     Total of Part 7
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of    Valuation method used       Current value of
                                                                                      debtor's interest    for current value           debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1

         47.2

         47.3

         47.4


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 5
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 6 of 91
Debtor          Buffalo Bayou Brewing Company, Inc                                                    Case number (if known) 24-31933
                Name




         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used    Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value        debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1

         55.2

         55.3

         55.4

         55.5

         55.6


 56.     Total of Part 9
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes

Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                     page 6
                        Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 7 of 91
Debtor         Buffalo Bayou Brewing Company, Inc                                                Case number (if known) 24-31933
              Name




 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                      Net book value of      Valuation method used     Current value of
                                                                                  debtor's interest      for current value         debtor’s interest

                                                                                  (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets

         Brewing Grain Bill/ Recipes                                                        unknown                                             unknown


 61.     Internet domain names and websites

         http://buffbrew.com/                                                               unknown                                                    $0.00

         Instagram: BuffBrew                                                                unknown                                                    $0.00

         Facebook: Buffalo Bayou Brewing Company                                            unknown                                                    $0.00


 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations




 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
                                                                                                                                                   $0.00
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:          All other assets



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                               page 7
                        Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 8 of 91
Debtor         Buffalo Bayou Brewing Company, Inc                                                      Case number (if known) 24-31933
               Name




 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

                                                                                      –                                      =   ➔
                                                              Total face amount           doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                         Tax year

                                                                                                         Tax year

                                                                                                         Tax year


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)

         Silver Silo, LLC (along with owners Steve Gibson and Jon Deal and their personal businesses Western
         General Holding Company and The Deal Company)                                                                                                unknown

         Nature of claim              Breach of Agreement

         Amount requested                      unknown

         Houston Distributing Company                                                                                                                 unknown

         Nature of claim              Breach of Agreement

         Amount requested                      unknown

         Faust Distributing Company                                                                                                                   unknown

         Nature of claim              Breach of Agreement

         Amount requested                      unknown

         Frost Bank                                                                                                                                   unknown

         Nature of claim              Breach of Agreement

         Amount requested                      unknown

         Whitmeyer Distillery                                                                                                                         unknown

         Nature of claim              Breach of Agreement

         Amount requested                      unknown




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                    page 8
                        Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 9 of 91
Debtor         Buffalo Bayou Brewing Company, Inc                                               Case number (if known) 24-31933
              Name




         Grass Burr Holdings Group, LLC                                                                                           unknown

         Nature of claim             Breach of Agreement

         Amount requested                     unknown

         Christopher Whitmeyer                                                                                                    unknown

         Nature of claim             Breach of Agreement

         Amount requested                     unknown


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                             page 9
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 10 of 91
Debtor           Buffalo Bayou Brewing Company, Inc                                                                                  Case number (if known) 24-31933
                Name




  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                        Current value of                         Current value
                                                                                                                 personal property                        of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                         $137.00

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                           unknown

 82.     Accounts receivable. Copy line 12, Part 3.                                                                             $40,566.63

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.                                                                                     $792,343.80

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                                  unknown
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔
 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                                   $0.00

 90.     All other assets. Copy line 78, Part 11.                                                           +                     unknown


 91.     Total. Add lines 80 through 90 for each column............................91a.                                      $833,047.43         + 91b.


 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $833,047.43




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                            page 10
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 11 of 91
 Fill in this information to identify the case:

     Debtor name     Buffalo Bayou Brewing Company, Inc

     United States Bankruptcy Court for the:                Southern                 District of             Texas
                                                                                                   (State)
     Case number (if known):      24-31933                                                                                                           ✔ Check if this is an
                                                                                                                                                     ❑
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         Frost Bank                                                                                                                 $1,000,000.00                   unknown

        Creditor’s mailing address
         P.O. Box 34746
         San Antonio, TX 78265                               Describe the lien

        Creditor’s email address, if known
                                                             Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
        Date debt was incurred
                                                             ❑ Yes
        Last 4 digits of account                             Is anyone else liable on this claim?
        number                                               ✔ No
                                                             ❑
        Do multiple creditors have an interest in            ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        the same property?
        ✔ No
        ❑
                                                             As of the petition filing date, the claim is:
                                                             Check all that apply.
        ❑ Yes. Specify each creditor, including this
                 creditor, and its relative priority.        ❑ Contingent
                                                             ❑ Unliquidated
                                                             ❑ Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                $1,020,254.03
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                      Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 12 of 91
Debtor       Buffalo Bayou Brewing Company, Inc                                                     Case number (if known) 24-31933
          Name




   Part 1:        Additional Page                                                                                    Column A                  Column B
                                                                                                                     Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                     Do not deduct the value   that supports this
 previous page.                                                                                                      of collateral.            claim

2.2 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Harris County                                    See Attached List                                                          $20,254.03         $792,343.80

     Creditor’s mailing address                        Describe the lien

      Ann Harris Bennett
      Po Box 3547                                      Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
      Houston, TX 77253-3547
                                                       ❑ Yes
     Creditor’s email address, if known                Is anyone else liable on this claim?
                                                       ✔ No
                                                       ❑
     Date debt was incurred
                                                       ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                       As of the petition filing date, the claim is:
     Last 4 digits of account
                                                       Check all that apply.
     number
                                                       ❑ Contingent
     Do multiple creditors have an interest in         ❑ Unliquidated
                                                       ❑ Disputed
     the same property?
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
               relative priority?
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 3
                    Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 13 of 91
Debtor      Buffalo Bayou Brewing Company, Inc                                               Case number (if known) 24-31933
          Name




  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
 agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


 Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                            did you enter the           account number
                                                                                                            related creditor?           for this entity

 New Mill Capital Holdings LLC
 50 Louis Street NW                                                                                         Line 2. 1
 Grand Rapids, MI 49503



                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




                                                                                                            Line 2.




Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 14 of 91

 Fill in this information to identify the case:

 Debtor name                Buffalo Bayou Brewing Company, Inc

 United States Bankruptcy Court for the:
                             Southern District of Texas

 Case number (if known):               24-31933                                                                                    ✔ Check if this is an
                                                                                                                                   ❑
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.1                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.2                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 61
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 15 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                              Case number (if known)             24-31933
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $646.80
                                                                            Check all that apply.
                                                                            ❑ Contingent
       47 Hops

       P.O. Box 10747                                                       ❑ Unliquidated
       Yakima, WA 98909
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $1,410,947.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       AAMG Investments

       4299 San Felipe St. Suite 140                                        ❑ Unliquidated
       Houston, TX 77027
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $751.26
                                                                            Check all that apply.
                                                                            ❑ Contingent
       ABC Home and Commercial Services

       11934 Barker Cypress Rd                                              ❑ Unliquidated
       Cypress, TX 77433
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $9,250.00
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       Adam Gierisch

       1900 Justin Ln                                                       ❑ Unliquidated
       Austin, TX 78757
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2 of 61
                        Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 16 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                           Case number (if known)          24-31933
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $3,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
      Adam Reichstein

      5007 S. Braeswood BLVD                                           ❑ Unliquidated
      Houston, TX 77096
                                                                       ❑ Disputed
                                                                       Basis for the claim:
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $92,229.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
      Alan Christensen

      6540 Vanderbilt Street                                           ❑ Unliquidated
      Houston, TX 77005
                                                                       ❑ Disputed
                                                                       Basis for the claim:
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $282,905.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
      Alexander Griggs

      14511 Running Arabian Ln                                         ❑ Unliquidated
      Houston, TX 77044
                                                                       ❑ Disputed
                                                                       Basis for the claim:
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $1,041.22
3.8                                                                    Check all that apply.
                                                                       ❑ Contingent
      Alsco

      8020 Blankenship Dr                                              ❑ Unliquidated
      Houston, TX 77055
                                                                       ❑ Disputed
                                                                       Basis for the claim:
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                       page 3 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 17 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,688.22
                                                                       Check all that apply.
                                                                       ❑ Contingent
         American Canning, LLC

         8219 Burleson Rd Ste 300                                      ❑ Unliquidated
         Austin, TX 78744
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $201.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         American Elevator Inspections

         Po Box 2709                                                   ❑ Unliquidated
         Baytown, TX 77522
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         American Express

         PO Box 650448                                                 ❑ Unliquidated
         Dallas, TX 75265
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $300.00
3.12                                                                   Check all that apply.
                                                                       ❑ Contingent
         American Heli Arc

         5009 Pinemont Dr                                              ❑ Unliquidated
         Houston, TX 77092
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 4 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 18 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $9,724.13
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Amur Equipment Finance

         304 W 3rd St.                                                 ❑ Unliquidated
         Grand Island, NE 68801
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Andrew Bean
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $164,762.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Andrew Sarofim

         P.O. Box 52830                                                ❑ Unliquidated
         Houston, TX 77052-2380
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $184,489.00
3.16                                                                   Check all that apply.
                                                                       ❑ Contingent
         Andrew Sarofim

         P.O. Box 52830                                                ❑ Unliquidated
         Houston, TX 77052-2380
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 19 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $203,163.86
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ann Harris

         Po Box 4622                                                   ❑ Unliquidated
         Houston, TX 77210-4622
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,925.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Arrive Logistics

         7701 Metropolis Dr Bldg 14 & 15                               ❑ Unliquidated
         Austin, TX 78744
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Arthur J. Gallagher Risk Management Services, Inc.

         39683 Treasury Center                                         ❑ Unliquidated
         Chicago, IL 60694-9700
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,639.82
3.20                                                                   Check all that apply.
                                                                       ❑ Contingent
         Autumn Mechanical

         18812 Tomato                                                  ❑ Unliquidated
         Spring, TX 77379
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 20 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Backd

         1949 S I-35 Frontage Rd                                       ❑ Unliquidated
         Austin, TX 78741
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,387.50
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Bayou Resources

         7431 Wright Road                                              ❑ Unliquidated
         Houston, TX 77041
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,351.28
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Blue Label Digital Labeling

         3750 Lancaster - New Lexington Rd Se                          ❑ Unliquidated
         Lancaster, OH 43130
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,416.00
3.24                                                                   Check all that apply.
                                                                       ❑ Contingent
         Blue Rhino

         P.O. Box 771891                                               ❑ Unliquidated
         Chicago, IL 60677-1891
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 7 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 21 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         BlueVine/ Celtic Corporation

         268 South State Street                                        ❑ Unliquidated
         Salt Lake City, UT 84111
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $217,138.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         BR3 Interests, LP

         3620 Georgetown St                                            ❑ Unliquidated
         Houston, TX 77005
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $164,578.76
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Brewers Supply Group

         Po Box 74769                                                  ❑ Unliquidated
         Chicago, IL 60694-4769
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $10,109.97
3.28                                                                   Check all that apply.
                                                                       ❑ Contingent
         Brewery Direct

         10731 IH-35 N                                                 ❑ Unliquidated
         San Antonio, TX 78233
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 22 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $29,600.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Bruce Reichstein

         2315 Elmen Street                                             ❑ Unliquidated
         Houston, TX 77019
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $633.26
                                                                       Check all that apply.
                                                                       ❑ Contingent
         C & K Mechanical

         3914 Marlin Lane                                              ❑ Unliquidated
         La Porte, TX 77571
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $40,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Cadence Advisory, LLC

         4111 Newton Ave #15                                           ❑ Unliquidated
         Dallas, TX 75219
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
3.32                                                                   Check all that apply.
                                                                       ❑ Contingent
         Capital Assist

         750 Main Street Suite 906                                     ❑ Unliquidated
         Hartford, CT 06103
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 9 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 23 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.33 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,336.51
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Carter & Hatcher Consulting, LLC

         516 W. 9Th Street                                             ❑ Unliquidated
         Houston, TX 77007
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.34 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $82,393.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Catherine Forrest

         18 Kittredge RD                                               ❑ Unliquidated
         Framingham, MA 1702
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.35 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         CEF Leasing/Pathforward

         5480 Corporate Dr.                                            ❑ Unliquidated
         Troy, MI 48098
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,541.58
3.36                                                                   Check all that apply.
                                                                       ❑ Contingent
         Centerpoint Energy

         P.O. Box 2883                                                 ❑ Unliquidated
         Houston, TX 77252-2883
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 24 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.37 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,574.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Century Fire Protection Houston Inc.

         PO Box 419                                                    ❑ Unliquidated
         Pinehurst, TX 77362
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.38 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Charles Corrigan

         5334 Lawn Arbor Dr                                            ❑ Unliquidated
         Houston, TX 77066
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.39 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,253.57
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Charlie's Plumbing, Inc

         10114 Thermon St                                              ❑ Unliquidated
         Houston, TX 77075
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $649.50
3.40                                                                   Check all that apply.
                                                                       ❑ Contingent
         ChemAqua

         PO Box 971269                                                 ❑ Unliquidated
         Dallas, TX 75397
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 11 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 25 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.41 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $66,600.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Christopher Dodd

         5702 Hewitt Dr                                                ❑ Unliquidated
         Houston, TX 77092
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.42 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $42,550.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Christopher Walls

         4111 Newton Ave #15                                           ❑ Unliquidated
         Dallas, TX 75219
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.43 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         CIT Group

         155 Commerce Way                                              ❑ Unliquidated
         Portsmouth, NH 03801
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $440.49
3.44                                                                   Check all that apply.
                                                                       ❑ Contingent
         City of Houston

         Po Box 2688                                                   ❑ Unliquidated
         Houston, TX 77252-2688
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 26 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.45 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,703.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
         City Wide Maintenance of Houston

         2525 North Loop                                               ❑ Unliquidated
         Houston, TX 77008
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.46 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $22,200.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Clevan Mendonca

         614 Avondale St                                               ❑ Unliquidated
         Houston, TX 77006
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.47 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $25,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Cokinos

         1221 Lamar Street 16th Fl.                                    ❑ Unliquidated
         Houston, TX 77010
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $44,400.00
3.48                                                                   Check all that apply.
                                                                       ❑ Contingent
         Colin Bumby

         55 West End Ave                                               ❑ Unliquidated
         Apt 5F, NY 10023
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 13 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 27 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.49 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $842.87
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Comcast

         P.O Box 70219                                                 ❑ Unliquidated
         Philadelphia, PA 19176-0219
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.50 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,878.20
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Compeat

         Dept 0397                                                     ❑ Unliquidated
         Dallas, TX 75312
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.51 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $103.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Costco

         P.O. Box 34331                                                ❑ Unliquidated
         Seattle, WA 98124
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,828.69
3.52                                                                   Check all that apply.
                                                                       ❑ Contingent
         Cougar Sales

         14824 Tomball Parkway                                         ❑ Unliquidated
         Houston, TX 77086
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 14 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 28 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.53 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,320.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Coyote Logistics, LLC

         P.O. Box 742636                                               ❑ Unliquidated
         Atlanta, GA 30374-2636
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.54 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,495.14
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Culligan

         3201 Premier Drive                                            ❑ Unliquidated
         Irving, TX 75063
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.55 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $29,600.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Daniel Berman

         430 W 21st ST No. B                                           ❑ Unliquidated
         Houston, TX 77008
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $24,589.00
3.56                                                                   Check all that apply.
                                                                       ❑ Contingent
         Daniel McLucas 1

         68 Grafton St                                                 ❑ Unliquidated
         Arlington, MA 2474
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 15 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 29 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.57 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $25,356.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Daniel McLucas 2

         68 Grafton St                                                 ❑ Unliquidated
         Arlington, MA 2474
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.58 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $52,985.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Daniel Rojo

         1445 Chamboard                                                ❑ Unliquidated
         Houston, TX 77018
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.59 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $18,500.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Daniel Wang

         15702 Quiet Bay CT                                            ❑ Unliquidated
         Houston, TX 77095
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $18,500.00
3.60                                                                   Check all that apply.
                                                                       ❑ Contingent
         Danielle Cheek

         2211 Sandman St.                                              ❑ Unliquidated
         Houston, TX 77007
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 16 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 30 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.61 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $4,213.68
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Datavox

         6650 W. Sam Houston Pkwy South                                ❑ Unliquidated
         Houston, TX 77072
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.62 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $9,250.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         David Morales

         4400 Lindell Apt 9N                                           ❑ Unliquidated
         St. Louis, MO 63118
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.63 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         DBT Holdings

         3630 Tryclan Drive                                            ❑ Unliquidated
         Charlotte, NC 28217
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $202.13
3.64                                                                   Check all that apply.
                                                                       ❑ Contingent
         Dealco Maintenance Group, LLC

         PO Box 1524                                                   ❑ Unliquidated
         Houston, TX 77251
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 17 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 31 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.65 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $410,075.83
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Deutsche

         3630 Tryclan Drive                                            ❑ Unliquidated
         Charlotte, NC 28217
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.66 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $20,865.50
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Direct Energy

         12 Greenway Plaza Suite 250                                   ❑ Unliquidated
         Houston, TX 77046
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.67 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $100.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Drumm Law, LLC

         12650 W. 64th Avenue Unit E #519                              ❑ Unliquidated
         Arvada, CO 80004
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $96,200.00
3.68                                                                   Check all that apply.
                                                                       ❑ Contingent
         Elliot Pickering

         Toll Booth Apartments, Upham Park Road Flat 6                 ❑ Unliquidated
         London England Flat 6                                         ❑ Disputed
         London, England,                                              Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 18 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 32 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)            24-31933
             Name




 Part 2: Additional Page

3.69 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $165.39
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Engie Resources

         P.O. Box 9001025                                              ❑ Unliquidated
         Louisville, KY 40290-1025
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.70 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,846.43
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Euro Mid Inc

         P.O Box 550259                                                ❑ Unliquidated
         Houston, TX 77255-0259
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.71 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $96,020.26
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Fed TTB

         PO Box 790353                                                 ❑ Unliquidated
         St Louis, MO 63179-0353
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $12.99
3.72                                                                   Check all that apply.
                                                                       ❑ Contingent
         Ferrellgas

         One Liberty Plaza                                             ❑ Unliquidated
         Liberty, MO 64068
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 19 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 33 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.73 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $178.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Filecamp AG

         Zugerstrasse 6, Cham AG                                       ❑ Unliquidated
         Switzerland, 6330
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.74 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,609.42
                                                                       Check all that apply.
                                                                       ❑ Contingent
         First Key Consulting Inc.

         1021 West Hastings St 9th Floor Vancouver British             ❑ Unliquidated
         Columbia 9th Floor                                            ❑ Disputed
         Vancouver British Columbia,                                   Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.75 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,014.05
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Function 4 LLC

         12560 Reed Road Suite 200                                     ❑ Unliquidated
         Sugar Land, TX 77478
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $4,500.00
3.76                                                                   Check all that apply.
                                                                       ❑ Contingent
         Garfield Internet Group

         15611 Logan St                                                ❑ Unliquidated
         Sugar Land, TX 77478
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 20 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 34 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.77 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,132.58
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Gather Technologies

         300 Baker Avenue Suite 160                                    ❑ Unliquidated
         Concord, MA 1742
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.78 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $7,400.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Geoff Marcek

         1112 Welch                                                    ❑ Unliquidated
         Houston, TX 77006
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.79 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $42,550.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Gerald Ullman

         3922 Austin's Estate Dr                                       ❑ Unliquidated
         Bryan, TX 77808
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $139,000.00
3.80                                                                   Check all that apply.
                                                                       ❑ Contingent
         Gray Reed & McGraw

         1300 Post Oak Blvd. Suite 2000                                ❑ Unliquidated
         Houston, TX 77056
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 21 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 35 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.81 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $107,863.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Gregory Nikkel

         106 Plantation Road                                           ❑ Unliquidated
         Houston, TX 77024
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.82 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $165.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         GS1 US

         P.O. Box 78000                                                ❑ Unliquidated
         Detroit, MI 48278-1271
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.83 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $18,411.50
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Gulf Coast Boiler, LLC

         14149 Interdrive West                                         ❑ Unliquidated
         Houston, TX 77032
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $3,297.29
3.84                                                                   Check all that apply.
                                                                       ❑ Contingent
         Hard Swig

         2120 Centimeter Circle                                        ❑ Unliquidated
         Austin, TX 78758
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 22 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 36 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.85 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $433.04
                                                                       Check all that apply.
                                                                       ❑ Contingent
         H-E-B

         646 S Flores St                                               ❑ Unliquidated
         San Antonio, TX 78204-1219
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.86 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $206.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Holler Brewing Co.

         2206 Edwards St Suite A                                       ❑ Unliquidated
         Houston, TX 77007
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.87 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,136.10
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Houston Avocado Co. Inc

         2224 Airline Dr.                                              ❑ Unliquidated
         Houston, TX 77099
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,033.28
3.88                                                                   Check all that apply.
                                                                       ❑ Contingent
         Houston Health Department

         Po Box 300008                                                 ❑ Unliquidated
         Houston, TX 77230-0008
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                      page 23 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 37 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.89 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $21,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Houston Pump and Gear

         11718 N Garden St                                             ❑ Unliquidated
         Houston, TX 77071
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.90 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $67,903.77
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Houston Water Department

         Po Box 1560                                                   ❑ Unliquidated
         Houston, TX 77251-1560
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.91 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $33,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         HR Ally Inc

         1923 Washington Ave. Suite 2287                               ❑ Unliquidated
         Houston, TX 77007
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $2,903.40
3.92                                                                   Check all that apply.
                                                                       ❑ Contingent
         HRIBAR Logistics LLC

         7213 Hwy 41                                                   ❑ Unliquidated
         Caledonia, WI 53108
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 24 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 38 of 91

Debtor        Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)         24-31933
             Name




 Part 2: Additional Page

3.93 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,325.71
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Hydrite Chemical Co

         17385 Golf Parkway                                            ❑ Unliquidated
         Brookfield, WI 53045
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.94 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $2,158.45
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Hygiena

         941 Avenida Acaso                                             ❑ Unliquidated
         Camarillo, CA 93012
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.95 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $37,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ian Wells

         614 Avondale St                                               ❑ Unliquidated
         Houston, TX 77006
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $1,275.00
3.96                                                                   Check all that apply.
                                                                       ❑ Contingent
         Industrial Boiler and Heater, LLC

         21614 Fm 2100 Rd                                              ❑ Unliquidated
         Crosby, TX 77532
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 25 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 39 of 91

Debtor         Buffalo Bayou Brewing Company, Inc                                                      Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.97     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         ISI

         PO Box 654374                                                 ❑ Unliquidated
         Dallas, TX 75265-4374
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.98     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $84,839.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jackson Lau

         2214 Ashford Hollow Ln.                                       ❑ Unliquidated
         Houston, TX 77077
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.99     Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $16,650.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jackson Lau

         2214 Ashford Hollow Ln.                                       ❑ Unliquidated
         Houston, TX 77077
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $133,200.00
3.100                                                                  Check all that apply.
                                                                       ❑ Contingent
         Jeffrey Scott

         205 W Jefferson Blvd South Bend Unit 400                      ❑ Unliquidated
         South Bend, IN 46601
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 26 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 40 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.101 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jennifer Michaels

         43 Hollywood Rd                                               ❑ Unliquidated
         Boston, MA 2132
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.102 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $563,756.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jerald Reichstein

         5007 S. Braeswood BLVD                                        ❑ Unliquidated
         Houston, TX 77096
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.103 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $22,200.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         John Brawley

         1706 Guilford Lane                                            ❑ Unliquidated
         Nichols Hills, OK 73120
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $14,800.00
3.104                                                                  Check all that apply.
                                                                       ❑ Contingent
         John King

         2207 Dryden Road                                              ❑ Unliquidated
         Houston, TX 77080
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 27 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 41 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.105 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $17,540.18
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Johnson Controls

         Po Box 730068                                                 ❑ Unliquidated
         Dallas, TX 75373
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.106 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $94,350.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jonathan Bannet

         750 Columbus 3F                                               ❑ Unliquidated
         New York, NY 10025
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.107 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $20,350.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Jonathan Roumel

         1331 Herkimer ST                                              ❑ Unliquidated
         Houston, TX 77008
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $541.25
3.108                                                                  Check all that apply.
                                                                       ❑ Contingent
         Josh Gremillion Photography
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 28 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 42 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)           24-31933
            Name




 Part 2: Additional Page

3.109 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $0.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Keg Logistics

         9110 E Nichols Ave Suite 105                                  ❑ Unliquidated
         Centennial, CO 80112
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.110 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $123,187.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ken Burke

         6633 Vanderbilt                                               ❑ Unliquidated
         Houston, TX 77005
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.111 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $92,276.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ken Burke Sr.

         11742 Riverview Dr.                                           ❑ Unliquidated
         Houston, TX 77077
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $4,856.64
3.112                                                                  Check all that apply.
                                                                       ❑ Contingent
         Kilgore Industries, L.P.

         10050 Houston Oaks Dr                                         ❑ Unliquidated
         Austin, TX 77064
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 29 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 43 of 91

Debtor       Buffalo Bayou Brewing Company, Inc                                                        Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.113 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $190.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         King Trivia

         4620 N M88                                                    ❑ Unliquidated
         Central Lake, MI 49622
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.114 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $60,359.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Lauren Burke

         6633 Vanderbilt                                               ❑ Unliquidated
         Houston, TX 77005
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.115 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $164,762.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Legend of Sleepy Hollow, LLC

         909 Fannin St #2907                                           ❑ Unliquidated
         Houston, TX 77010
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $461,238.00
3.116                                                                  Check all that apply.
                                                                       ❑ Contingent
         Legend of Sleepy Hollow, LLC

         909 Fannin St #2907                                           ❑ Unliquidated
         Houston, TX 77010
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 30 of 61
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 44 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.117 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,145.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Lila Sharifian

         1750 Sky Lark Lane Unit 1216                                  ❑ Unliquidated
         Houston, TX 77056
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.118 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,877.63
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Loeffler / Zee Company

         412 Georgia Avenue Suite 300                                  ❑ Unliquidated
         Chattanooga, TN 37403
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.119 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $515.48
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Loftin Mechanical Services

         Po Box 2165                                                   ❑ Unliquidated
         Crosby, TX 77532
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $919.04
3.120                                                                  Check all that apply.
                                                                       ❑ Contingent
         Logo Audio and Video Accys, LLC

         PO Box 788                                                    ❑ Unliquidated
         Richmond, TX 77406
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     page 31 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 45 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.121 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $29,600.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Lorenzo Subido

         1745 Valley Bend Street                                       ❑ Unliquidated
         Chula Vista, CA 91913
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.122 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $46,169.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Lynn & Barbara White

         4304 Waterford Place                                          ❑ Unliquidated
         Austin, TX 78731
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.123 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         M2 Equipment

         175 N Patrick Blvd Suite 140                                  ❑ Unliquidated
         Brookfield, WI 53045
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.124                                                                  Check all that apply.
                                                                       ❑ Contingent
         Macquarie

         PO Box 714862                                                 ❑ Unliquidated
         Cincinnati, OH 45271
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 32 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 46 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.125 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,332.90
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Malin Raymond

         15870 Midway Rd                                               ❑ Unliquidated
         Addison, TX 75001
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.126 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $35,536.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Mark Durow

         6017 Truro St                                                 ❑ Unliquidated
         Houston, TX 77007
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.127 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $37,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Mark Vreeke

         11595 Harbridge Dr.                                           ❑ Unliquidated
         Granger, IN 46530
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $3,700.00
3.128                                                                  Check all that apply.
                                                                       ❑ Contingent
         Martin Michaels

         43 Hollywood Rd                                               ❑ Unliquidated
         Boston, MA 2132
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 33 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 47 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.129 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,015.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Martin, Frost & Hill, P.C.

         3345 Bee Cave Road Suite 105                                  ❑ Unliquidated
         Austin, TX 78746
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.130 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,500.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Mary Yiu CPA PLLC

         14090 Southwest Fwy Suite 300                                 ❑ Unliquidated
         Sugar Land, TX 77478
                                                                       ❑ Disputed
                                                                       Basis for the claim: Unpaid Fees
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.131 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,500.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Mary Yiu CPA PLLC

         14090 Southwest Fwy Suite 300                                 ❑ Unliquidated
         Sugar Land, TX 77478
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $76,954.00
3.132                                                                  Check all that apply.
                                                                       ❑ Contingent
         Matthew Altenau

         909 Fannin St Suite #2907                                     ❑ Unliquidated
         Houston, TX 77010
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 34 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 48 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.133 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $85,100.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Matthew Hale

         637 Maryland Ave                                              ❑ Unliquidated
         Pittsburg, PA 15232
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.134 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $15,157.93
                                                                       Check all that apply.
                                                                       ❑ Contingent
         MEI Rigging

         3838 Western Way Ne                                           ❑ Unliquidated
         Albany, OR 97321
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.135 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $137.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Memorial Hermann

         PO Box 301208                                                 ❑ Unliquidated
         Dallas, TX 75303-1208
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $200.00
3.136                                                                  Check all that apply.
                                                                       ❑ Contingent
         mg Productions

         117 Coral Bay Drive                                           ❑ Unliquidated
         League City, TX 77573
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 35 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 49 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.137 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,400.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Michael Dreef

         915 Waverly Street                                            ❑ Unliquidated
         Houston, TX 77008
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.138 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $14,978.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Michael Vacas

         1711 McDonald St                                              ❑ Unliquidated
         Houston, TX 77007
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.139 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,434.31
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Miner Material Handling

         22203 Cypress Slough Dr                                       ❑ Unliquidated
         Houston, TX 77073
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $11,550.65
3.140                                                                  Check all that apply.
                                                                       ❑ Contingent
         Modern Tax Group, LLC

         12001 N. Central Expressway Suite 110                         ❑ Unliquidated
         Dallas, TX 75243-3728
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 36 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 50 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.141 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Natalie Reichstein

         5007 S. Braeswood BLVD                                        ❑ Unliquidated
         Houston, TX 77096
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.142 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         New Lane

         PO Box 7358                                                   ❑ Unliquidated
         Philadelphia, PA 19101-7358
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.143 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Next Seed

         P.O. Box 540341                                               ❑ Unliquidated
         Houston, TX 77098
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $22,200.00
3.144                                                                  Check all that apply.
                                                                       ❑ Contingent
         Nicholas Jacobsen

         6506 Laurelwood Dr                                            ❑ Unliquidated
         Austin, TX 78731
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 37 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 51 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.145 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $105,664.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Nicholas Zdeblick

         2132 Rice Blvd                                                ❑ Unliquidated
         Houston, TX 77005
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.146 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,566.52
                                                                       Check all that apply.
                                                                       ❑ Contingent
         North Water District Laboratory Services, Inc.

         8725 Fawn Trail                                               ❑ Unliquidated
         Conroe, TX 77385
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.147 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $770.74
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Nouveau Elevator

         4755 37th Street                                              ❑ Unliquidated
         Long Island City, NY 11101
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $31,450.00
3.148                                                                  Check all that apply.
                                                                       ❑ Contingent
         Octo Management

         4299 San Felipe St. Suite 140                                 ❑ Unliquidated
         Houston, TX 77027
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 38 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 52 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.149 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,052.73
                                                                       Check all that apply.
                                                                       ❑ Contingent
         On Time Electric Texas LLC

         201 Adams St                                                  ❑ Unliquidated
         Houston, TX 77011
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.150 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,620.70
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Open Table

         29109 Network Place                                           ❑ Unliquidated
         Chicago, IL 60673-1291
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.151 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,788.40
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Oregon Fruit Products

         Po Box 13490                                                  ❑ Unliquidated
         Salem, OR 97309
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $21,227.82
3.152                                                                  Check all that apply.
                                                                       ❑ Contingent
         Oxford Properties Group

         PO BOX 935852                                                 ❑ Unliquidated
         Atlanta, GA 31193-5852
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 39 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 53 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.153 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $67,415.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Pablo Henning

         3770 Farber St                                                ❑ Unliquidated
         Houston, TX 77005
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.154 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $92,500.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Pacific Premier Trust FBO Catherine Forrest

         18 Kittredge RD                                               ❑ Unliquidated
         Framingham, MA 1702
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.155 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $403.71
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Paktech

         70 S Bertelsen Rd                                             ❑ Unliquidated
         Eugene, OR 97402-5371
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $11,346.95
3.156                                                                  Check all that apply.
                                                                       ❑ Contingent
         Pannell Kerr Forster of Texas

         5847 San Felipe Suite 2600                                    ❑ Unliquidated
         Houston, TX 77057
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 40 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 54 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.157 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $11,346.95
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Pannell Kerr Forster of Texas

         5847 San Felipe                                               ❑ Unliquidated
         Houston, TX 77057
                                                                       ❑ Disputed
                                                                       Basis for the claim: Unpaid Fees
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.158 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $48,100.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Patrick Wetherille

         45 Province St Apt 708                                        ❑ Unliquidated
         Boston, MA 2108
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.159 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $30.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Paychex

         911 Panorama Trail So,                                        ❑ Unliquidated
         Rochester, NY 14625
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $94,000.00
3.160                                                                  Check all that apply.
                                                                       ❑ Contingent
         Pimuro

         835 Ivy Wall Dr                                               ❑ Unliquidated
         Houston, TX 77079
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 41 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 55 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.161 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,175.20
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Pollock

         1 Pollock Place                                               ❑ Unliquidated
         Prarie, TX 75050
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.162 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,474.39
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Precise Technical Services, Inc

         18616 Klein Church Rd.                                        ❑ Unliquidated
         Spring, TX 77379
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.163 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,187.49
                                                                       Check all that apply.
                                                                       ❑ Contingent
         PRMM Fire & Alarm, LLC

         13727 FM 529                                                  ❑ Unliquidated
         Houston, TX 77041
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $703.63
3.164                                                                  Check all that apply.
                                                                       ❑ Contingent
         Pro-Tech Restoration

         Po Box 14408                                                  ❑ Unliquidated
         Houston, TX 77221
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     page 42 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 56 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.165 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $19,426.90
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Proximity Malt

         644 South 5th Street                                          ❑ Unliquidated
         Milwaukee, WI 53204
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.166 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Raistone

         360 Madison Ave 22nd Floor                                    ❑ Unliquidated
         New York, NY 10017
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.167 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $46,138.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ralph McBride

         807 Old Lake Road                                             ❑ Unliquidated
         Houston, TX 77057
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $203,500.00
3.168                                                                  Check all that apply.
                                                                       ❑ Contingent
         Rassul Zarinfar

         4641 Montrose Blvd Apt 849                                    ❑ Unliquidated
         Houston, TX 77007
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 43 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 57 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.169 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $40,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Reed Macy
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.170 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $614.95
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Reliant Metro

         PO Box 670279                                                 ❑ Unliquidated
         Pampa, TX 79066
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.171 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $53,270.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Richards

         2407 S Congress Ave Suite E #125                              ❑ Unliquidated
         Austin, TX 78704
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $5,833.00
3.172                                                                  Check all that apply.
                                                                       ❑ Contingent
         Road Runner Recycling Inc.

         One Ppg Place Fl 33                                           ❑ Unliquidated
         Pittsburgh, PA 15222
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 44 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 58 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.173 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $37,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ryan Robertson

         1330 Shillington                                              ❑ Unliquidated
         Katy, TX 77450
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.174 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $5,550.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ryan Stephen
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.175 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $46,122.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Ryan Zorn

         2265 S Adams St                                               ❑ Unliquidated
         Denver, CO 80210
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $12,724.14
3.176                                                                  Check all that apply.
                                                                       ❑ Contingent
         Sales Tax - Texas Comptroller

         P.O. Box 149348                                               ❑ Unliquidated
         Austin, TX 78714-9348
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 45 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 59 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.177 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,898.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Saul Ewing

         1200 Liberty Ridge Drive Suite 200                            ❑ Unliquidated
         Wayne, PA 19087-5569
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.178 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $18,823.85
                                                                       Check all that apply.
                                                                       ❑ Contingent
         saxco int.

         5260 Anna Ave,                                                ❑ Unliquidated
         San Diego, CA 92110
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.179 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $11,211.77
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Scarborough Specialties

         10501 Indiana Avenue                                          ❑ Unliquidated
         Lubbock, TX 79423
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $11,582.60
3.180                                                                  Check all that apply.
                                                                       ❑ Contingent
         Schindler Elevator Corporation

         PO Box 93050                                                  ❑ Unliquidated
         Chicago, IL 60673-3035
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 46 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 60 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.181 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $335,879.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Sean O'Brien

         2302 River Valley Dr                                          ❑ Unliquidated
         Missouri City, TX 77489
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.182 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $8,888.95
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Setpoint Integrated Solutions

         11224 Wallisvillle Rd                                         ❑ Unliquidated
         Houston, TX 77013
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.183 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $67,985.90
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Settagast

         10517 Beinhorn Rd                                             ❑ Unliquidated
         Houston, TX 77024
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $20,350.00
3.184                                                                  Check all that apply.
                                                                       ❑ Contingent
         Shane Campbell

         6 Swarthmore PL                                               ❑ Unliquidated
         Swarthmore, PA 19081
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 47 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 61 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.185 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $25,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Shogun

         4221 Freidrich Ln                                             ❑ Unliquidated
         Austin, TX 78744
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.186 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $321,080.95
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Silver Silo, LLC

         Po Box 1849                                                   ❑ Unliquidated
         Houston, TX 77251-1849
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.187 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $738.48
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Slow Dough

         9330 W Airport Blvd                                           ❑ Unliquidated
         Houston, TX 77031
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $570.00
3.188                                                                  Check all that apply.
                                                                       ❑ Contingent
         Southern Illinois University

         1785 University Pass Drive                                    ❑ Unliquidated
         Carbondale, IL 62901
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 48 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 62 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.189 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $2,976.88
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Southern Product Finishing

         Po Box 895                                                    ❑ Unliquidated
         Pearland, TX 77588-0895
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.190 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $6,051.15
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Southwaste

         PO Box 53988                                                  ❑ Unliquidated
         Lafayette, LA 70505-3988
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.191 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $19,216.31
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Sovereign Flavors

         4030 W Chandler Ave                                           ❑ Unliquidated
         Santa Ana, CA 92704
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,100.00
3.192                                                                  Check all that apply.
                                                                       ❑ Contingent
         Springs Construction Inc

         PO Box 88                                                     ❑ Unliquidated
         Staples, TX 78670
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 49 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 63 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.193 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,700.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Stephen White

         9506 Sotherloch Lake Dr.                                      ❑ Unliquidated
         Spring, TX 77379
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.194 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $33,300.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Steven Wilson

         220 Water St #125                                             ❑ Unliquidated
         Brooklyn, NY 11201
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.195 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $7,500.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Stone Law Firm - ATX

         PO Box 90112                                                  ❑ Unliquidated
         Austin, TX 78709
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $73,821.00
3.196                                                                  Check all that apply.
                                                                       ❑ Contingent
         SUDS Syndicate

         1750 Sky Lark Lane Unit 1216                                  ❑ Unliquidated
         Houston, TX 77056
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 50 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 64 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.197 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,804.28
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Summit Fire & Security

         Po Box 6783                                                   ❑ Unliquidated
         Carol Stream, IL 60197-6783
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.198 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,350.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Supply Chain Solutions (SEL)

         1200 West Freeway Suite 200                                   ❑ Unliquidated
         Fort Worth, TX 76102
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.199 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $143,487.78
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Synergi Partners Inc

         PO Box 5599                                                   ❑ Unliquidated
         Florence, SC 29502
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $10,123.98
3.200                                                                  Check all that apply.
                                                                       ❑ Contingent
         Sysco

         10710 Greens Crossing Blvd                                    ❑ Unliquidated
         Houston, TX 77038
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 51 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 65 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.201 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,880.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
         TABC

         P.O. Box 13127                                                ❑ Unliquidated
         Austin, TX 78711-3127
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.202 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $140.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Texas Department of License and Regulations

         920 Colorado St                                               ❑ Unliquidated
         Austin, TX 78701
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.203 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,849.72
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Texas Industrial Air Service, LLC

         13003 Murphy Road Suite L-2                                   ❑ Unliquidated
         Stafford, TX 77477
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,172.25
3.204                                                                  Check all that apply.
                                                                       ❑ Contingent
         Texas Mutual Insurance

         PO Box 841843                                                 ❑ Unliquidated
         Dallas, TX 75284-1843
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 52 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 66 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.205 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $457.35
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Texas Premium Charcoal and Firewood
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.206 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $231.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Texas Restaurant Association

         512 East Riverside Dr Suite 250                               ❑ Unliquidated
         Austin, TX 78704
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.207 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $9,373.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Texas Rotating Equipment

         10344 Sam Houston Park Suite 110                              ❑ Unliquidated
         Houston, TX 77064
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,250.00
3.208                                                                  Check all that apply.
                                                                       ❑ Contingent
         The Allen CPA Firm, PLLC

         1415 S. Voss Rd #110-417                                      ❑ Unliquidated
         Houston, TX 77057
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                     page 53 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 67 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.209 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,796.13
                                                                       Check all that apply.
                                                                       ❑ Contingent
         The Coolerman, LLC

         17927 Elk River                                               ❑ Unliquidated
         Houston, TX 77090
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.210 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $55,281.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         The Hartford

         P.O. Box 660916                                               ❑ Unliquidated
         Dallas, TX 75266-0916
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.211 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $11,366.25
                                                                       Check all that apply.
                                                                       ❑ Contingent
         The Tent Co

         2333 Wirtcrest Rd. Suite F                                    ❑ Unliquidated
         Houston, TX 77055
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $6,222.29
3.212                                                                  Check all that apply.
                                                                       ❑ Contingent
         Tierra Group

         5350 Pioneer Creek Drive Suite 1                              ❑ Unliquidated
         Maple Plain, MN 55359
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 54 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 68 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.213 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $496.77
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Toast Inc.

         401 Park Drive Suite 801                                      ❑ Unliquidated
         Boston, MA 2215
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.214 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $27,750.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Transworld Risk Management LLC

         3354 Rogerdale Rd. #625                                       ❑ Unliquidated
         Houston, TX 77042
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.215 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $10,671.21
                                                                       Check all that apply.
                                                                       ❑ Contingent
         TXU Energy

         PO Box 650638                                                 ❑ Unliquidated
         Dallas, TX 75265-0638
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            unknown
3.216                                                                  Check all that apply.
                                                                       ❑ Contingent
         U.S. Small Business Administration

         P.O. Box 3918                                                 ❑ Unliquidated
         Portland, OR 97208-3918
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 55 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 69 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.217 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $1,317.41
                                                                       Check all that apply.
                                                                       ❑ Contingent
         United States Treasury

         United States Treasury Ogden                                  ❑ Unliquidated
         Ogden, UT 84201-0030
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.218 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         US Bank

         1310 Madrid St                                                ❑ Unliquidated
         Marshall, MN 56258
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.219 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $12,464.51
                                                                       Check all that apply.
                                                                       ❑ Contingent
         US Tape and Label

         2092 Westport Center Dr                                       ❑ Unliquidated
         Saint Louis, MO 63146
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $660.41
3.220                                                                  Check all that apply.
                                                                       ❑ Contingent
         VIP

         402 Watertower Circle                                         ❑ Unliquidated
         Colchester, VT 5446
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 56 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 70 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.221 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $22,200.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Vita Salsman
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.222 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $847.60
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Vortex Colorado Inc

         1801 W. Olympic Blvd                                          ❑ Unliquidated
         Pasadena, CA 91199-5125
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.223 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $350.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Wages Owed to Employees
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,270.47
3.224                                                                  Check all that apply.
                                                                       ❑ Contingent
         Waste Management

         800 Capitol Street                                            ❑ Unliquidated
         Houston, TX 77002
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 57 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 71 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.225 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Wells Fargo

         PO Box 77101                                                  ❑ Unliquidated
         Minneapolis, MN 55480-7101
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.226 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $188,999.77
                                                                       Check all that apply.
                                                                       ❑ Contingent
         West Rock CP, LLC

         8440 Tewantin Dr                                              ❑ Unliquidated
         Houston, TX 77061
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.227 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $3,712.50
                                                                       Check all that apply.
                                                                       ❑ Contingent
         What's on Tap

         2000 West Loop South Suite 300                                ❑ Unliquidated
         Houston, TX 77027
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $39,757.00
3.228                                                                  Check all that apply.
                                                                       ❑ Contingent
         Whitley LLP Attorneys at Law

         24285 Katy Freeway                                            ❑ Unliquidated
         Katy, TX 77494
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 58 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 72 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                         Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.229 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $200,000.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Whitmeyers

         16721 Hollister St Bldg. 5 Suite G.                           ❑ Unliquidated
         Houston, TX 77066
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.230 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $53,650.00
                                                                       Check all that apply.
                                                                       ❑ Contingent
         William O'Brien III

         2302 River Valley Dr                                          ❑ Unliquidated
         Missouri City, TX 77489
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.231 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:            $948.74
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Workable

         83 Morse Street Building 6                                    ❑ Unliquidated
         Norwood, MA 2062
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $1,991,203.00
3.232                                                                  Check all that apply.
                                                                       ❑ Contingent
         WPM Capital I Recap, LLC

         2429 Bissonnet St #16                                         ❑ Unliquidated
         Houston, TX 77005
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Date or dates debt was incurred                               Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 59 of 61
                        Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 73 of 91

Debtor      Buffalo Bayou Brewing Company, Inc                                                      Case number (if known)        24-31933
            Name




 Part 2: Additional Page

3.233 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:            $25,059.37
                                                                    Check all that apply.
                                                                    ❑ Contingent
         YCHHops

         306 Division Street                                        ❑ Unliquidated
         Yakima, WA 98902
                                                                    ❑ Disputed
                                                                    Basis for the claim:
         Date or dates debt was incurred                            Is the claim subject to offset?
                                                                    ✔ No
                                                                    ❑
         Last 4 digits of account number                            ❑ Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      page 60 of 61
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 74 of 91

Debtor       Buffalo Bayou Brewing Company, Inc                                                   Case number (if known)    24-31933
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $11,601,405.29



  5c. Total of Parts 1 and 2                                                       5c.              $11,601,405.29
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                         page 61 of 61
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 75 of 91

 Fill in this information to identify the case:

 Debtor name                Buffalo Bayou Brewing Company, Inc

 United States Bankruptcy Court for the:
                             Southern District of Texas

 Case number (if known):               24-31933                                                                                ✔ Check if this is an
                                                                                                                               ❑
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ❑ Operating a business
                                        From 01/01/2024
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                    $394,701.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2022           to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                 $6,489,459.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2024           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2022           to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                 Buffalo Bayou Brewing Company, Inc
                                                                                 Page 76 of 91
                                                                          Case number (if known)                                                     24-31933
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
        Street                                                                                                 ❑ Services
                                                                                                               ❑ Other

        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ❑ None
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 2
Debtor
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                 Buffalo Bayou Brewing Company, Inc
                                                                                 Page 77 of 91
                                                                          Case number (if known)                                                      24-31933
                 Name

 5.1.                                                       2012 Hino Truck,                                           02/20/2024                   $10,500.00
        Creditor's name


        Street




        City                        State     ZIP Code

 5.2.                                                       1/2 BBL kegs and 1/6 BBL kegs                              03/14/2024                 $201,820.00
        Creditor's name


        Street




        City                        State     ZIP Code

 5.3.                                                       In-Line Model Labeler 700VS with Side                      03/12/2024                   $39,600.00
        Creditor's name                                     Rails

        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        American Express                                                                Harris County Civil Court at Law No. 2                ✔ Pending
                                                                                                                                              ❑
        National Bank vs Rassul                                                         Name
                                                                                                                                              ❑ On appeal
        Zarinfar, Buffalo Bayou
                                                                                                                                              ❑ Concluded
                                                                                        201 Caroline 5th Floor
        Brewing Company                                                                 Street


         Case number                                                                    Houston, TX 77002
                                                                                        City                         State     ZIP Code
        1215069

Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor
                       Case 24-31933 Document 34 Filed in TXSB on 09/03/24
             Buffalo Bayou Brewing Company, Inc
                                                                             Page 78 of 91
                                                                      Case number (if known)                                      24-31933
             Name
 7.2.    Case title                   Nature of case                       Court or agency's name and address               Status of case

        Austin Business                                                   Williamson County 425th Judicial                  ✔ Pending
                                                                                                                            ❑
        Finance,LLC, v. Buffalo                                           District
                                                                          Name
                                                                                                                            ❑ On appeal
        Bayou Brewing Company
        and William McLucas                                               405 M.L.K Street                                  ❑ Concluded
                                                                          Street

         Case number
                                                                          Georgetown, TX 78626
        24-0013-C425                                                      City                       State       ZIP Code

 7.3.    Case title                   Nature of case                       Court or agency's name and address               Status of case

        Frost Bank vs. Buffalo                                            Harris County 215th District Court                ✔ Pending
                                                                                                                            ❑
        Brewing Company,                                                  Name
                                                                                                                            ❑ On appeal
        Buffbrew Taproom, LLC,
                                                                                                                            ❑ Concluded
                                                                          201 Caroline St
        and Rassul D. Zarinfar                                            Street


         Case number                                                      Houston, TX 77002
                                                                          City                       State       ZIP Code
        2024-00680
 7.4.    Case title                   Nature of case                       Court or agency's name and address               Status of case

        Pimuro Capital Partners,                                          190th Judicial District Court of Harris           ✔ Pending
                                                                                                                            ❑
        LLC v. Buffalo Brewing                                            County of Texas
                                                                          Name
                                                                                                                            ❑ On appeal
        Company, WPM Capital
        Partners, LLC, and                                                201 CAROLINE Floor 12                             ❑ Concluded
        William McLucas                                                   Street



         Case number                                                      Houston, TX 77002
                                                                          City                       State       ZIP Code
        2022-60869
 7.5.    Case title                   Nature of case                       Court or agency's name and address               Status of case

        Setpoint Integrated          Judgement                            Harris County Civil Court at Law No. 2            ❑ Pending
        Solutions, Inc. vs Buffalo                                        Name
                                                                                                                            ❑ On appeal
        Bayou Brewing Company                                             201 Caroline 5th Floor
                                                                          Street
                                                                                                                            ✔ Concluded
                                                                                                                            ❑
         Case number
                                                                          Houston, TX 77002
        1214086                                                           City                       State       ZIP Code

 7.6.    Case title                   Nature of case                       Court or agency's name and address               Status of case

        U.S. Bank National                                                Harris County District Court - 113th              ✔ Pending
                                                                                                                            ❑
        Association D/B/A U.S.                                            Name
                                                                                                                            ❑ On appeal
        Bank Equipment v Buffalo
                                                                                                                            ❑ Concluded
                                                                          201 Caroline St #420
        Bayou Brewing Company                                             Street
        and Rassul Zarinfar

                                                                          Houston, TX 77002
         Case number                                                      City                       State       ZIP Code

        2023-31075




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
Debtor
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                 Buffalo Bayou Brewing Company, Inc
                                                                                 Page 79 of 91
                                                                          Case number (if known)                                                  24-31933
                 Name
 7.7.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Christopher Whitemeyer                                                        269th Judicial District Court of Harris             ✔ Pending
                                                                                                                                          ❑
        vs. Buffalo Bayou                                                             County
                                                                                      Name
                                                                                                                                          ❑ On appeal
        Brewing Company
                                                                                      201 Caroline 13th Floor                             ❑ Concluded
                                                                                      Street
         Case number

        2023-37036                                                                    Houston, TX 77002
                                                                                      City                          State   ZIP Code

 7.8.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Danielle Cheek et al. vs                                                      Court of Chancery, Leonard L.                       ✔ Pending
                                                                                                                                          ❑
        William McLucas, et al.                                                       Williams Justice Center
                                                                                      Name
                                                                                                                                          ❑ On appeal
                                                                                      500 North King Street 12th Floor                    ❑ Concluded
         Case number                                                                  Street

        2023-0903
                                                                                      Wilmington, DE 19801
                                                                                      City                          State   ZIP Code

 7.9.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Settegast Partnership vs.              Citation/ Eviction                     Harris County - Justice Court Precinct              ✔ Pending
                                                                                                                                          ❑
        Rassul Zarinfar: Buffalo                                                      1, Place 1
                                                                                      Name
                                                                                                                                          ❑ On appeal
        Bayou Brewing Company
                                                                                      7300 North Shepherd Drive Room 138                  ❑ Concluded
                                                                                      Street
         Case number

        241100056603                                                                  Houston, TX 77091
                                                                                      City                          State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                         Value


        Custodian’s name
                                                          Case title                                          Court name and address
        Street
                                                                                                             Name

                                                          Case number
                                                                                                             Street
        City                        State    ZIP Code



                                                          Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 5
Debtor
                            Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                  Buffalo Bayou Brewing Company, Inc
                                                                                  Page 80 of 91
                                                                           Case number (if known)                                                    24-31933
                  Name
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         TRAN SINGH, LLP                                        Attorney’s Fee                                            4/19/2024                   $10,500.00

          Address                                               Filing Fee                                                4/19/2024                      $338.00

         2502 La Branch St.                                     Due Diligence                                             4/19/2024                      $100.00
         Street



         Houston, TX 77004
         City                        State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
Debtor
                            Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                Buffalo Bayou Brewing Company, Inc
                                                                                  Page 81 of 91
                                                                           Case number (if known)                                                  24-31933
                Name



 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.
                                                                                                           From                       To
         Street




         City                        State    ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 7
Debtor
                             Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                Buffalo Bayou Brewing Company, Inc
                                                                                   Page 82 of 91
                                                                            Case number (if known)                                                   24-31933
                Name
 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                      Nature of the business operation, including type of services the          If debtor provides meals
                                                         debtor provides                                                           and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                          Location where patient records are maintained(if different from           How are records kept?
                                                         facility address). If electronic, identify any service provider.
         City                    State    ZIP Code                                                                                Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ❑ None
          Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                           number                                                    closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer

Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Debtor
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                 Buffalo Bayou Brewing Company, Inc
                                                                                 Page 83 of 91
                                                                          Case number (if known)                                                   24-31933
                 Name


 18.1   Frost Bank                                       XXXX– 2 2 6 6                 ✔ Checking
                                                                                       ❑                           06/28/2023               $0.00
        Name
                                                                                       ❑ Savings
        Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
        City                      State   ZIP Code

 18.2   Frost Bank                                       XXXX– 2 2 7 4                 ✔ Checking
                                                                                       ❑                           11/15/2023               $0.00
        Name
                                                                                       ❑ Savings
        Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
        City                      State   ZIP Code

 18.3   Frost Bank                                       XXXX– 2 2 5 8                 ✔ Checking
                                                                                       ❑                           11/15/2023               $0.00
        Name
                                                                                       ❑ Savings
        Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
        City                      State   ZIP Code

 18.4   Independent Financial                            XXXX– 4 3 0 6                 ✔ Checking
                                                                                       ❑                           02/20/2024               $0.00
        Name
                                                                                       ❑ Savings
        Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
        City                      State   ZIP Code

 18.5   Plains Capital Bank                              XXXX– 9 1 4 3                 ✔ Checking
                                                                                       ❑                           06/2023                  $0.00
        Name
                                                                                       ❑ Savings
        Street
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
                                                                                       ❑ Other
        City                      State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address         Names of anyone with access to it           Description of the contents                Does debtor
                                                                                                                                                still have it?

                                                                                                                                               ❑ No
                                                                                                                                               ❑ Yes
        Name


        Street

                                                         Address

        City                      State   ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 9
Debtor
                            Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                  Buffalo Bayou Brewing Company, Inc
                                                                                  Page 84 of 91
                                                                           Case number (if known)                                                      24-31933
                  Name
 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value



         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 10
Debtor
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                  Buffalo Bayou Brewing Company, Inc
                                                                                 Page 85 of 91
                                                                          Case number (if known)                                                  24-31933
                  Name

          Case title                                 Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                    ❑ Pending
          Case number
                                                    Name
                                                                                                                                                    ❑ On appeal
                                                                                                                                                    ❑ Concluded
                                                    Street




                                                    City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice



         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice



         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:        –
         Name
                                                                                                                  Dates business existed

         Street
                                                                                                                From                  To



         City                 State   ZIP Code




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 11
Debtor
                          Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                 Buffalo Bayou Brewing Company, Inc
                                                                                Page 86 of 91
                                                                         Case number (if known)                                        24-31933
                 Name
 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                Dates of service

 26a.1. Mary Yiu CPA PLLC                                                                                 From 07/2023        To 01/2024
          Name
          14090 Southwest Fwy Suite 300
          Street



          Sugar Land, TX 77478
          City                                      State                  ZIP Code

           Name and address                                                                                Dates of service

 26a.2. Pannell Kerr Forster of Texas                                                                     From 12/2012        To 07/2023
          Name
          5847 San Felipe Suite 2600
          Street



          Houston, TX 77057
          City                                      State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                Dates of service

 26b.1.
                                                                                                          From                To
          Name


          Street




          City                                      State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                                If any books of account and records are
                                                                                                           unavailable, explain why
 26c.1.


          Name


          Street




          City                                      State                  ZIP Code

 26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
        statement within 2 years before filing this case.
        ✔None
        ❑




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 12
Debtor
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24
                 Buffalo Bayou Brewing Company, Inc
                                                                                 Page 87 of 91
                                                                          Case number (if known)                                             24-31933
                 Name

           Name and address

 26d.1.

          Name


          Street




          City                                              State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ❑ No
         ✔ Yes. Give the details about the two most recent inventories.
         ❑
          Name of the person who supervised the taking of the inventory                           Date of        The dollar amount and basis (cost, market, or
                                                                                                  inventory      other basis) of each inventory

         Byron Lewis                                                                             01/19/2024                                         $600,956.00


          Name and address of the person who has possession of inventory records

 27.1. Steve Gibson
         Name
         2101 Summer Street
         Street



         Houston, TX 77007
         City                                       State               ZIP Code

          Name of the person who supervised the taking of the inventory                           Date of        The dollar amount and basis (cost, market, or
                                                                                                  inventory      other basis) of each inventory

         Valentina Pita                                                                          01/19/2024                                         $600,956.00


          Name and address of the person who has possession of inventory records

 27.2. Jennie Smith
         Name
         5301 Nolda Street
         Street



         Houston, TX 77007
         City                                       State               ZIP Code

          Name of the person who supervised the taking of the inventory                           Date of        The dollar amount and basis (cost, market, or
                                                                                                  inventory      other basis) of each inventory

         Brittany Fashoro                                                                        1/19/2024                                          $600,956.00


          Name and address of the person who has possession of inventory records

 27.3.

         Name


         Street




         City                                       State               ZIP Code


Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 13
Debtor
                         Case 24-31933 Document 34 Filed in TXSB on 09/03/24
             Buffalo Bayou Brewing Company, Inc
                                                                               Page 88 of 91
                                                                        Case number (if known)                                                      24-31933
             Name
 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
         Name                          Address                                                             Position and nature of any            % of interest, if any
                                                                                                           interest

      William McLucas                                                                                  CEO,                                                   0.00%

      BBBC Holdings, Inc              2429 Bissonnet St #16 Houston, TX 77005                          ,                                                   100.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
      ✔ No
      ❑
      ❑ Yes. Identify below.
         Name                          Address                                                       Position and nature of any         Period during which
                                                                                                     interest                           position or interest was
                                                                                                                                        held

                                                                                                 ,                                        From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑
         Name and address of recipient                                      Amount of money or description                 Dates                 Reason for providing
                                                                            and value of property                                                the value


 30.1. William McLucas                                                                   $36,000.00 (Approx.)             09/2022-4/2024
      Name


      Street




      City                                     State        ZIP Code


         Relationship to debtor

      Executive
         Name and address of recipient                                      Amount of money or description                 Dates                 Reason for providing
                                                                            and value of property                                                the value


 30.2. Jonathan Horowitz                                                               $140,000.00 (Approx.)              9/2022-4/2024
      Name


      Street




      City                                     State        ZIP Code


         Relationship to debtor

      Executive




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 14
Debtor
                            Case 24-31933 Document 34 Filed in TXSB on 09/03/24
             Buffalo Bayou Brewing Company, Inc
                                                                                  Page 89 of 91
                                                                           Case number (if known)                                              24-31933
             Name

         Name and address of recipient                                            Amount of money or description          Dates             Reason for providing
                                                                                  and value of property                                     the value


 30.3. Rassul Zarinfar                                                                      $128,000.00 (Approx.)        9/2022-4/2024
      Name


      Street




      City                                           State         ZIP Code


         Relationship to debtor

      Executive

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                          Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                                Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on         08/16/2024
                     MM/ DD/ YYYY




    ✘ /s/ William McLucas
          ID yW4NVX137BZ3dAcLZmyLKXoQ
                                                                          Printed name                   William McLucas
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor                 CEO



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 15
                           Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 90 of 91


 Fill in this information to identify the case:

 Debtor name                Buffalo Bayou Brewing Company, Inc

 United States Bankruptcy Court for the:
                             Southern District of Texas

 Case number (if known):               24-31933                                                                                       ✔ Check if this is an
                                                                                                                                      ❑
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ✔
         ❑     Amended Schedule Schedule A/B & E/F

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.




                                                                            ✘ /s/ William McLucas
                                                                                ID yW4NVX137BZ3dAcLZmyLKXoQ
         Executed on     08/16/2024
                          MM/ DD/ YYYY
                                                                                Signature of individual signing on behalf of debtor


                                                                                 William McLucas
                                                                                Printed name


                                                                                 CEO
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 24-31933 Document 34 Filed in TXSB on 09/03/24 Page 91 of 91




eSignature Details

Signer ID:        yW4NVX137BZ3dAcLZmyLKXoQ
Signed by:        William "Billy" McLucas
Sent to email:    billy@wpmcapital.com
IP Address:       108.7.58.132
Signed at:        Sep 3 2024, 1:08 pm CDT
